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 5
 6
                   IN THE UNITED STATES DISTRICT COURT
 7
                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,          ) Case No.: 2:14-cr-206-JAM
                                        )
10            Plaintiff,                )
         v.                             ) STIPULATION AND ORDER
11                                      ) EXCLUDING TIME PURSUANT TO
                                        ) AGREEMENT TO DEFER
12   CORAL WILSON, et al.,              ) PROSECUTION
                                        )
13            Defendants.               )
                                        )
14
15
         IT IS HEREBY STIPULATED AND AGREED between Plaintiff,
16
     United States of America, by and through its counsel of
17
     record Jill Thomas, and Defendant, Meuy Lai Saechao, by and
18
     through his undersigned counsel of record as follows:
19
         On September 28, 2015, the parties signed a formal
20
     agreement to defer prosecution of the indictment against
21
     Ms. Saechao for a period of twelve months.            The agreement
22
     is attached and labeled as Exhibit A.
23
         The Speedy Trial Act, 18 U.S.C. 3161, at subdivision
24
     (h)(2), excludes from computation of the time within which
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     trial must commence “[a}ny period of delay during which
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     prosecution is deferred by the attorney for the Government
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     pursuant to a written agreement with the defendant, with
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 1   the approval of the court, for the purpose of allowing the
 2   defendant to demonstrate his good conduct.”
 3       The parties agree and jointly request that the Court
 4   approve the agreement pursuant to 18 U.S.C. 3161(h)(2) so
 5   that time under the Speedy Trial Act may be excluded
 6   through September 27, 2016.
 7       The parties further stipulate and request that, in
 8   light of the agreement set forth herein, the Court vacate
 9   the status conference, as to this defendant only, presently
10   scheduled for October 13, 2015, and set a control date of
11   September 27, 2016 at 9:15 a.m.
12
     Dated: October 2, 2015           Respectfully submitted,
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14
                                      /s/Kristy M. Kellogg
15                                    Kristy M. Kellogg
16                                    Attorney for Meuy Lai Saechao
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18
     Dated: October 2, 2015           /s/ Kristy M. Kellogg for
19                                    Jill Thomas
20                                    Assistant United States Attorney

21
22
                                      ORDER
23
         The Court, having received, read and considered the
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     deferred prosecution agreement and the parties’
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     stipulation, hereby approves the deferred prosecution
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     agreement and adopts the parties’ stipulation in its
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     entirety as its order.      The Court orders the time from the
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 1   date of the deferred prosecution agreement, up to and
 2   including September 27, 2016, shall be excluded from the
 3   computation of time within which the trial of this case
 4   must be commenced under the Speedy Trial Act, pursuant to
 5   18 U.S.C. 3161(h)(2) [prosecution deferred by mutual
 6   agreement], and Local Code T1.         It is further ordered that
 7   the October 13, 2015, status conference shall be vacated as
 8   to defendant Meuy Lai Saechao only.          A control date is set
 9   for September 27, 2016, at 9:15 a.m.
10
11   Date: October 5, 2015
                                      /s/ John A. Mendez
12                                    Hon. John A. Mendez
13                                    U. S. District Court Judge
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